                                                                                                                Form 3-1



UNITED STATES COURT OF INTERNATIONAL TRADE                                                                FORM 3
 HLD Clark Steel Pipe Co., Inc. and HLDS (B) Steel
 Sdn Bhd,

                                                                                        S U M M O N S 
                                          Plaintiff,
       v.

 UNITED STATES,
                                          Defendant.

TO:    The Attorney General, the Department of Commerce, and/or the Commissioner of U.S.
       Customs and Border Protection, and/or the United States International Trade
       Commission:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
       U.S.C. ' 1581(c) to contest the determination described below.

                                                              /s/ Mario Toscano
                                                              Clerk of the Court



       HLD Clark Steel Pipe Co., Inc. and HLDS (B) Steel Sdn Bhd - Respondents, Producers and Exporters of subject merchandise
1.     ________________________________________________________________________
       (Name and standing of plaintiff)


2.     Oil Country Tubular Goods From the People’s Republic of China: Final
       ________________________________________________________________________
       Affirmative Determinations of Circumvention 86 Fed. Reg. 67443
       ________________________________________________________________________
       (November 26, 2021)
       ________________________________________________________________________
       (Brief description of contested determination)


3.     November 19, 2021
       ______________________________________________________________________
       (Date of determination)


4.     November 26, 2021
       _______________________________________________________________________
       (If applicable, date of publication in Federal Register of notice of contested determination)


                                                                            Name, Address, Telephone Number
                                                                            and E-mail Address of Plaintiff's Attorney
/s/ Gregory S. Menegaz
___________________________________                                          Gregory S. Menegaz
Signature of Plaintiff's Attorney                                            deKieffer & Horgan, PLLC
                                                                             1090 Vermont Ave N.W., Suite 410
December 23, 2021
____________________________________                                         Washington, DC 20005
                                                                             gmenegaz@dhlaw.com; 202-783-6900
     Date
                                                        SEE REVERSE SIDE
                                                                                    Form 3-2




                       SERVICE OF SUMMONS BY THE CLERK


                      If this action, described in 28 U.S.C. ' 1581(c), is
              commenced to contest a determination listed in section 516A(a)(2)
              or (3) of the Tariff Act of 1930, the action is commenced by filing
              a summons only, and the clerk of the court is required to make
              service of the summons. For that purpose, list below the complete
              name and mailing address of each defendant to be served.


(As amended July 21, 1986, eff. Oct. 1, 1986; Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28,
2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1, 2011; July 17, 2017, eff. July 17, 2017;
Oct. 25, 2017, eff. Oct. 25, 2017; Sept. 18, 2018, eff. Oct. 15, 2018.)




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